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 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,       )
11                                   )       No. 2:11-CR-076 LKK
               Plaintiff,            )
12                                   )       STIPULATION AND ORDER RE:
          v.                         )       DEFENDANT VICTOR GONZALEZ’S
13                                   )       RE-WEIGHING AND RE-TESTING
     CRESENCIO DELGADO-EZQUIVEL,     )       OF EXHIBIT
14   et al.,                         )
                                     )
15             Defendants.           )
                                     )
16   ________________________________)       Court:   Hon. Lawrence Karlton
17
18
19         Whereas, defendant Victor Gonzalez desires to re-weigh and
20   re-test Drug Enforcement Administration (“DEA”) Laboratory No.
21   7161746, Exhibit No. 5, as reported in DEA FORM-7, Report of Drug
22   Property Collected, Purchased or Seized, Discovery Document Nos.
23   1018-1079, for quantitative and qualitative analysis of the
24   controlled substance contained therein by a defense expert Edwin
25   Smith of Drug Detection Laboratories, Inc.
26   ///
27   ///
28   ///

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 1        It is hereby stipulated and agreed to by and between the
 2   parties, through their respective counsel, that the Court may
 3   enter the attached order to effect the re-weighing and re-testing
 4   examination of DEA Laboratory No. 7161746, Exhibit No. 5.
 5
 6   Dated:    August 30, 2012                 /s/ Dwight Samuel
 7                                       By:
                                               DWIGHT SAMUEL
 8                                             Attorney for defendant
                                               VICTOR GONZALEZ
 9
10   Dated:    August 30, 2012                 BENJAMIN B. WAGNER
                                               United States Attorney
11
                                                 /s/ Samuel Wong
12
                                         By:
13                                             SAMUEL WONG
                                               Assistant U.S. Attorney
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15                         _____________________________
16
17                                       ORDER
18
19        Pursuant to stipulation of the parties and good cause
20   appearing therefrom, IT IS HEREBY ORDERED, pursuant to
21   F.R.Crim.P. 16(a)(1)(E), that the United States shall allow the
22   defense to independently inspect and weigh Drug Enforcement
23   Administration (“DEA”) Laboratory No. 7161746, Exhibit No. 5, and
24   perform a qualitative and quantitative analysis of a
25   representative sample from DEA Exhibit No. 5 to determine the
26   identification, purity, and/or concentration of any controlled
27   substances, and, if methamphetamine, calculated as the
28   hydrochloride salt form.

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 1        IT IS FURTHER ORDERED that at a mutually convenient date and
 2   time on or before September 7, 2012, that the DEA Exhibit No. 5,
 3   seized in the above referenced case, shall be made available by
 4   the United States and the DEA Western Laboratory at the DEA
 5   Western Laboratory to Edwin Smith of Drug Detection Laboratories,
 6   Inc., DEA License No. PL0242709, 9700 Business Park Drive, Suite
 7   406, Sacramento, California 95827, Phone (916) 366 3113, FAX
 8   (916) 366 3917.   A Forensic Chemist from the DEA Western
 9   Laboratory shall provide the exhibit to Edwin Smith of Drug
10   Detection Laboratories, Inc., who shall conduct the weighing and
11   remove a representative sample at the DEA Western Laboratory,
12   using his own equipment and supplies (including, without
13   limitation, scale, calculated weights, sample vials, bottles,
14   spatula, paper, and bags) and without the assistance of any DEA
15   personnel for any reason.     The DEA Forensic Chemist and/or other
16   DEA Special Agent or Task Force Officer may be present and
17   observe/oversee and document the weighing and sampling for chain
18   of custody or security purposes.
19        IT IS FURTHER ORDERED, that the representative sample shall
20   be in the amount of no more than 500 milligrams from the
21   composite of DEA Exhibit No. 5.      Upon the completion of the
22   sample removal and weighing, the defense expert shall, forthwith,
23   return the remaining DEA Exhibit No. 5 to the DEA Forensic
24   Chemist in attendance.    DEA will then promptly ship the
25   representative sample to Edwin Smith at Drug Detection
26   Laboratories, Inc., 9700 Business Park Drive, Suite 406,
27   Sacramento, California 95827, upon his signature requesting such
28   shipment in accordance with DEA policy.

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 1        IT IS FURTHER ORDERED, that within fourteen days of
 2   receiving DEA Exhibit No. 5, the defense expert shall conduct the
 3   quantitative analysis ordered herein to determine the
 4   identification, and purity or concentration of any controlled
 5   substances in the sample of DEA Exhibit No. 5, and the defense
 6   expert shall provide the United States with the scientific
 7   results and reports of examination which state:        (1) the quantity
 8   of the entire DEA Exhibit No. 5 weighed; (2) the quantity of DEA
 9   Exhibit No. 5 consumed during testing; (3) either the weight of
10   the remaining sample from DEA Exhibit No. 5 returned to the
11   United States, or a statement that all of the sample was consumed
12   during testing; and (4) the results of the defense expert's
13   quantitative analysis to determine the identification and purity
14   or concentration of any controlled substances, and, if
15   methamphetamine, calculated as the hydrochloride salt form, in
16   the sample of DEA Exhibit No. 5.
17        IT IS FURTHER ORDERED that all remaining material of the
18   sample of DEA Exhibit No. 5 after testing is to be returned by
19   Edwin Smith to the DEA Western Regional Laboratory, 390 Main
20   Street, Room 700, San Francisco, California 94105, via registered
21   United States Mail, return receipt requested, or approved
22   commercial carrier, within five (5) business days after the
23   completion of analyses.
24        IT IS FURTHER ORDERED, that the defendant shall provide the
25   United States with a copy of the results or report of the
26   physical examinations and scientific tests or experiments which
27   resulted from the analyses conducted under this Order.
28        IT IS FURTHER ORDERED, that Edwin Smith and Drug Detection

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 1   Laboratory, Inc., shall safeguard the representative sample
 2   received, preserving the chain of custody in a manner to
 3   faithfully protect the integrity of the exhibit received.             Any
 4   failure to follow the aforementioned procedures will render the
 5   re-weighing and re-testing results scientifically invalid.            In
 6   addition, any failure by the defense to maintain the proper
 7   chain-of-custody will not render DEA Exhibit No. 5 inadmissible
 8   for this reason.
 9        IT IS FURTHER ORDERED, that time from the date of this
10   stipulation to and including September 21, 2012, shall be
11   excluded from computation of time within which the trial of this
12   case must be commenced under the Speedy Trial Act pursuant to 18
13   U.S.C. § 3161(h)(7)(A) and (B)(iv) (Local Code T4) (preparation
14   by defense counsel) to allow for the re-testing by the defense of
15   DEA Exhibit No. 5.
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17   Dated: September 4, 2012
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